 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

FLEET ENGINEERS, INC.
a Michigan Corporation,
Case No. 1:12-CV-1143
Plaintiff
Hon. Paul L. Maloney
Vv.

MUDGUARD TECHNOLOGIES, LLC

a Tennessee limited liability company,
TARUN SURTI
an Individual,

Defendants.

 

 

VERDICT FORM

When answering the following questions and filling out this Verdict Form, please follow
the directions provided throughout the form. Your answer to each question must be unanimous.
Some of the questions contain legal terms that are defined and explained in detail in the Jury
Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of

any legal term that appears in the questions below.

~ Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3931 Filed 10/06/21 Page 1 of 8
Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3932 Filed 10/06/21 Page 2 of 8

ACCUSED PRODUCTS N°

 

 

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Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3933 Filed 10/06/21 Page 3 of 8

Based on the evidence admitted at trial and in accordance with the instructions as given

by the Court, we, the jury, unanimously agree to the answers to the following questions:

QUESTION NO. 1. - Direct Infringement

For each of the following product groups, has Mr. Surti proven by a preponderance of the
evidence that each and every claim element of claims 1, 2, 5, 8, 9, and/or 13 of the '755 Patent is
included, literally or under the doctrine of equivalents, in the accused product, and that Fleet
Engineers made, used, offered to sell, or sold the accused product?

Please answer by marking in each cell "yes" (a finding for Mr. Surti) or "no" (a finding for

Fleet Engineers).

 

 
  

 

Group A

| Ves

Yes

Ves

 

Group B

 

 

 

No

 

No

 

 

 

No

 

 

If you answered "yes" to any part of Question 1, continue to Question 2.
If you answered "no" to every part of Question 1, your deliberations are complete. Please

have the jury foreperson sign, date, and return this form to the clerk.
Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3934 Filed 10/06/21 Page 4 of 8

QUESTION NO. 2. - Doctrine of Equivalents .
If you found infringement for any product in Question 1 under the doctrine of equivalents,

please identify below (i) the accused product group (ii) the claim in question, (iii) the claim

limitation that was not found literally in the accused product, and (iv) the "equivalent" element of

the accused product: N A

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3935 Filed 10/06/21 Page 5 of 8

QUESTION NO. 3. - Willful Infringement

Do you find by clear and convincing evidence that Mr. Surti proven that Fleet Engineers
actually knew about, intentionally ignored, or recklessly disregarded that its actions constituted
infringement of U.S. Patent No. RE44,755?

Please answer by marking "yes" (a finding for Mr. Surti) or "no" (a finding for Fleet

Engineers).

Yes No x
Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3936 Filed 10/06/21 Page 6 of 8

QUESTION NO. 4. - Damages
If you find any claim of the '755 Patent to be infringed, state the amount of damages, if any, Mr.

Surti has proven by a preponderance of the evidence.

A. Is Mr, Surti entitled to lost profits? Yes No_X

 

If Mr. Surti is entitled to lost profits, what amount is he owed?

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B. If Mr. Surti is not entitled to lost profits, you must calculate the amount or royalties to

which he is entitled.
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$ Grove A x Y % = §

Royalty Base (times) Royalty Rate Total Damages

 

Your deliberations are complete. Please have the jury foreperson sign, date, and return

this form to the clerk.
Dated: lO “peg

Signature: GO
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Case 1:12-cv-01143-PLM ECF No. 370, PagelD.3937 Filed 10/06/21 Page 7 of 8

 

 

 

 

 

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